                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
                       Plaintiff,


       v.                                                   Case No 17-CR-57


JOEL RIVERA,
                       Defendant.




                             JOINT FINAL PRETRIAL REPORT



       The United States of America, by its attorneys, Gregory J. Haanstad, United States

Attorney for the Eastern District of Wisconsin, and Carol L. Kraft and Benjamin A. Wesson,

Assistant United States Attorneys, and the defendant, Joel Rivera, by his attorney, Jacob A.

Manian, hereby submit the following Joint Pretrial Report for the above captioned case.

                                SUMMARY OF THE CHARGES

       The defendant, Joel Rivera is charged in a ten-count indictment, which alleges five

counts of robbery affecting interstate commerce and five counts of possessing and brandishing a

firearm in furtherance of robbery.

       Counts One and Two charge that on January 4, 2017, the defendant, Joel Rivera, together

with Antonio Thomas, committed a robbery at the Taqueria Los Gallos/Geno Nottolinis at 1800

South 13th Street, Milwaukee, Wisconsin, and that they knowingly possessed and brandished a

firearm in furtherance of that robbery.




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       Counts Three and Four charge that on January 5, 2017, the defendant, Joel Rivera,

together with Antonio Thomas, committed a robbery at the Taqueria Aranda, 1531 West Lincoln

Avenue, Milwaukee, Wisconsin, and that they knowingly possessed and brandished a firearm in

furtherance of that robbery.

       Counts Five and Six charge that on January 9, 2017, the defendant, Joel Rivera, together

with Antonio Thomas, committed a robbery at the Subway, 2244 North Martin Luther King Jr.,

Drive, Milwaukee, Wisconsin, and that they knowingly possessed and brandished a firearm in

furtherance of that robbery.

       Counts Seven and Eight charge that on January 11, 2017, the defendant, Joel Rivera,

together with Antonio Thomas, committed a robbery at the Family Dollar Store, 3045 South 13th

Street, Milwaukee, Wisconsin, and that they knowingly possessed and brandished a firearm in

furtherance of that robbery.

       Counts Nine and Ten charge that on January 17, 2017, the defendant, Joel Rivera,

together with Antonio Thomas, committed a robbery at the Family Dollar Store, 7616 West

Hampton Avenue, Milwaukee, Wisconsin, and that they knowingly possessed and brandished a

firearm in furtherance of that robbery.

       Joel Rivera has pleaded not guilty to these charges.

                               ANTICIPATED LENGTH OF TRIAL

       The parties anticipate that the trial will last approximately one and one half weeks.

                  STIPULATIONS OF FACT BETWEEN THE PARTIES

       The parties will stipulate that the three restaurants and two convenience stores identified

in Counts 1, 3, 5, 7, and 9 of the indictment are business establishments engaged in the sale of

articles and commodities in interstate commerce.




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        The parties will further stipulate that video and still photos clipped from the video are

true and correct copies of surveillance video recovered from the five business establishments on

the dates of the alleged offenses. A draft with the language of these stipulations is attached to this

report as Attachment A.

                                        WITNESSES

        Lists of the parties’ potential witnesses, together with their city of residence are attached

as Government Attachment B and Defendant Attachment B.

                                   EXPERT WITNESSES

         The government may call Special Agent Joseph Raschke. Agent Raschke has been employed

as a Special Agent with the Federal Bureau of Investigation since January 1998. He is a member of the

Federal Bureau of Investigation’s Cellular Analysis Survey Team (CAST), an experienced, specially

trained group of experts in historical cell site analysis. Agent Raschke has participated in more than 500

hours of training covering various case scenarios, cellular technology, software mapping tools, and the use

of industry-standard radio frequency signal detection equipment and software to measure and map the

actual coverage footprint within a particular cell tower sector. Additional details about Agent Raschke’s

background and training are summarized in the curriculum vitae attached as Attachment C.

         Agent Raschke may testify about the basic principles of historical cell-site analysis and

about historical cell-site information and toll records associated with T-Mobile cellular telephone number

(414) 766-8903 and Sprint cellular telephone number (414) 982-0698.

                                            EXHIBIT LIST

        The parties’ exhibits lists are attached as Government Attachment D and Defendant

Attachment D.

                                     VOIR DIRE QUESTIONS

        The parties’ voir dire questions are attached as Government Attachment E and Defendant




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Attachment E.

                                     JURY INSTRUCTIONS

       A list of the Seventh Circuit Pattern jury instructions requested by the parties is

attached as Attachment F.

                                        VERDICT FORM

       A proposed jury verdict is attached as Attachment G.

                            REQUEST FOR A COURT REPORTER

       The parties request the services of court reporter at trial.

                                     ALTERNATE JURORS

       The parties request that two alternate jurors be selected.

       Respectfully submitted this 8th day of September 2017.

                                                       GREGORY J. HAANSTAD
                                                       United States Attorney

                                               By:     s/Carol L. Kraft
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